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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                       August 19, 2021
                   IN THE UNITED STATES DISTRICT COURT                Nathan Ochsner, Clerk
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


IBEROAMERICANA DE                      §
HIDROCARBUROS S.A.,                    §
                                       §
                   Plaintiff,          §
                                       §
v.                                     §      CIVIL ACTION NO. H-21-1840
                                       §
EXTERRAN CORPORATION;                  §
EXTERRAN ENERGY SOLUTIONS,             §
L.P.; and ANDREW WAY,                  §
                                       §
                   Defendants.         §


                         MEMORANDUM OPINION AND ORDER


       Plaintiff Iberoamericana de Hidrocarburos S.A. ("Plaintiff" or

"IHSA") asserts claims for tortious interference against defendants

Exterran Corporation ("Exterran Corp.") , Exterran Energy Solutions,

L.P.       {"Exterran L.P.")    (jointly,   "Exterran"),   and   Andrew      Way

{"Way") (collectively, "Defendants"). 1         Pending before the court

are Exterran Energy Solutions, L.P.'s [and Exterran Corporation's]

Motion to       Compel   Arbitration   ("Exterran's   Motion     to Compel")

{Docket Entry No. 4) and Plaintiff's Motion to Remand (Docket Entry

No. 12).       Plaintiff has asked that the court rule on Exterran's

Motion to Compel before addressing Plaintiff's Motion to Remand.2


        aintiff's Original Complaint, Exhibit A to Defendants'
Notice of Removal, Docket Entry No. 1-1, p. 2. All page numbers
for docket entries in the record refer to the pagination inserted
at the top of the page by the court's electronic     ling system,
CM/ECF.
      Plaint
       2
              's Unopposed Motion for Extension of Certain
Deadlines, Docket Entry No. 8, p. 3 <JI 8; Order on Plaintiff's
                                                  (continued...)
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Exterran,     L.P.    and   Exterran   Corp.   have   also   filed Defendant

Exterran Energy Solutions LP and Exterran Corp.'s Motion to Dismiss

("Exterran's Motion to Dismiss u ) (Docket Entry No. 5); and Way has

  led Defendant Andrew Way's Motion to Dismiss or, Alternatively,

Stay Pending Arbitration ("Way's Motion to Dismiss u ) (Docket Entry

No. 6).     The parties have jointly requested that the court address

Exterran's Motion to Compel before ruling on Exterran's Motion to

Dismiss; and Pla        iff has asked that the court address Exterran's

Motion to Compel before ruling on Way's Motion to Dismiss. 3             For

the reasons explai           below, Exterran's Motion to Compel will be

granted.


                 I.    Factua1 and Procedurai Background

     Plaintiff is a Mexican corporation. 4              Defendants Exterran

Corp. and Exterran L.P. are both organized in Delaware, with their

principal places of business in Houston,              Texas. 5   Way    CEO,


     2 ( •••continued)

Unopposed Motion for Extension of Certain Deadlines, Docket Entry
No. 9, p. 1 <j[ c.
     3
       Exterran's Motion to Dismiss, Docket Entry No. 5, p. 5 n.1;
Plaintiff's Unopposed Motion for Extension of Certain Deadl
Docket Entry No. 8, p. 2 <J[<J[ 6-7; Order on Plaintiff's Unopposed
Motion for Extension of Certain Deadlines, Docket Entry No. 9, p. 1
<J[ b.

     4
      Plaintiff' s Original Complaint, Exhibit A to Defendants'
Notice of Removal, Docket Entry No. 1-1, p. 3 <Jr 1; Exterran's
Motion to Compel, Docket Entry No. 4, p. 7.

        aintiff' s Original Complaint, Exhibit A to Defendants'
Notice of Removal, Docket Entry No. 1-1, p. 3 <J[<J[ 2 3.
                                       -2-
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President, and Director of Exterran Corp. and President of Exterran

L. p. 6         At all material times Exterran Corp. and Way,              through

Exterran L.P., controlled Exterran Energy de Mexico S.A. de C.V.

("Exterran Mexico"), 7 which is not a defendant.

          Exterran asserts, and Plaintiff does not deny, that Plaintiff

and Exterran Mexico are parties to two contracts concerning gas

conditioning and compression services at the Nej o 1,                 2,    and 3

substations and the operation of gas plants in northeast Mexico

(collectively, the "Neja Plants") .8               Plaintiff operates the Neja

Plants under a 2017 concession from Petr6leos Mexicanos ("PEMEX"),

the Mexican national oil company. 9                 The   rst contract between

Exterran Mexico and Plaintiff was signed on April 1,                  2010,    and

related to the centralized compression of gas for the Neja Field



          6
              Id.   <JI   4.

      Id. at 4 <JI 8; see also Second Declaration of Heinz Weidmann
          7

Pursuant to 28 U.S.C. § 1746, Exhibit A to Exterran's Motion to
Compel, Docket Entry No. 4-1, p. 1 <J[<J[ 5-6 (stating that "Exterran
Mexico is an indirect subsidiary of Exterran Energy Solutions, LP"
and "Exterran Energy Solutions, LP         an indirect subsidiary of
Exterran Corporation.").
          8Exterran's          Motion to Compel, Docket Entry No. 4, p. 7.

      Id.; see also Plaintiff's Original Complaint, Exhibit A to
          9

Defendants' Notice of Removal, Docket Entry No. 1-1, p. 4 <JI 7 ("The
Country of Mexico granted PEMEX the surface rights of certain
property in the Nejo Field           PEMEX [] also granted IHSA the
right to construct and maintain gas plants to refine the oil and
gas produced. PEMEX contractually granted IHSA possession of the
land, where the wells and infrastructure for oil and gas production
were built.").
                                             -3-
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(the "Compression Contract") . 10             The second contract was signed on

June 16,    2017, and modified three separate,                    previously existing

contracts    between        Pl    ntiff       and    Exterran       Mexico   for    gas

conditioning     services        at    the    Nejo    Plants      (the   "Conditioning

Contract"). 11

     The Contracts conta              essentially identical dispute-resolution

clauses mandating arbitration before the International Chamber of

Commerce    ("ICC")    of    "any       dispute      or   claim    arising   from   the

performance,     interpretation,         or breach" of the Contracts. 12             In

addition to the arbitration clauses in the Contracts, Plaintiff is

subject to the arbitration provision of a sales agreement that it

signed with Exterran, L.P. on January 15, 2020 (the "2020 Sales

Agreement" and,       together with the Compression and Conditioning



      compression Contract, Exhibit B to Defendants' Notice of
     10

Removal, Docket Entry No. 1-2, p. 34 (bearing signatures of the
parties' legal representatives      and showing the date in
Day/Month/Year format); see also Certified English Translation of
Compression Contract Excerpts, Exhibit D to Exterran's Motion to
Compel, Docket Entry No. 4-4.

     11
      Conditioning Contract, Exhibit C to Defendants' Notice of
Removal, Docket Entry No. 1-3, p. 58 (showing signatures of the
parties' legal representatives and the date as "16 del mes de Junio
de 2017"); see also Certified English Translation of Conditioning
Contract Excerpts, Exhibit E to Exterran's Motion to Compel, Docket
Entry No. 4-5.
      Certi
     12
                  English Translation of Compression Contract
Excerpts, Exhibit D to Exterran's Motion to Compel, Docket Entry
No. 4-4, p. 5; Certified English Translation of Conditioning
Contract Excerpts, Exhibit E to Exterran's Motion to Compel, Docket
Entry No. 4-5, p. 5.
                                             -4-
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Contracts, the "Contracts") , 13              That agreement, which concerns the

sale of equipment for the gas conditioning plant at Neja Plant

No. 1, provides that "[i]n the event of a dispute, this Agreement

shall be submitted to the conciliation, arbitration, jurisdiction,

and applicable law set forth in section 35 of the [Conditioning

Contract] . " 14

      On     November         13,    2020,   Exterran   Mexico   filed   a   criminal

complaint against Plaintiff with a Ministerio Publico                         (MP) in

Matamoros, Mexico, alleging among other things that Plaintiff had

denied Exterran Mexico's rights under the Contracts by prohibiting

Exterran Mexico employees from accessing the Neja Plants and the

equipment and infrastructure therein. 15                 Exterran Mexico filed a

second criminal complaint in December of 2020,                    which,     like the

previous complaint,                relied on its rights under the Contracts to

allege that Plaintiff had committed a criminal act. 16

      Acting on the criminal complaint, the MP issued a sequester

order that Plaintiff claims "froze all activity in the field,


     132020 Sales Agreement, Exhibit E to Defendants' Notice of
Removal, Docket Entry No. 1-5.

      14   Id. at 8   ':I[   14.

      Certified English Translation of First Complaint of Facts,
      15

Exhibit F to Exterran's Motion to Compel, Docket Entry No. 4-6,
pp. 9-12, . FACTS <J[':I[ I.1-4.
      Certified English Translation of Second Complaint of Facts,
      16

Exhibit G to Exterran's Motion to Compel, Docket Entry No. 4-7,
p. 4 ':I[ 2 ( stating that the Contracts established Exterran's
ownership of the equipment and infrastructure that Plaintiff was
allegedly preventing Exterran from accessing).
                                              -5-
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thereby      preventing     [Plaintiff]    from   entering   the   field,    and

 [Plaintiff] could not perform its contractual duties to PEMEX." 17

Plaintiff contends that the sequester order was quashed, only to be

replaced by       another    sequester    order when      Defendants directed

Exterran Mexico to file another criminal complaint.18

      Exterran     asserts,    and   Plaintiff     does   not deny,    that on

December 19, 2020, Exterran Mexico filed a request for arbitration

against      Plaintiff    with the   ICC. 19      The   request   alleged   that

Plaintiff breached the Contracts by failing to pay fees due under

the Contracts. 20    On February 22, 2021, Exterran Mexico amended

arbitration request to add Exterran,               L. P. as a party. 21      The

arbitration is ongoing.22


      17
        Plaintiff's Opposition to Exterran Energy Solution, LP's
. Motion to Compel Arbitration ("Plaintiff's Response"), Docket Entry
  No. 13, p. 4.
      18
           Id. at 4 5.
      19
           Exterran's Motion to Compel, Docket Entry No. 4, p. 10.



      Exterran's Motion to Compel, Docket Entry No. 4, p. 10; see
      21

     Exterran Energy de Mexico, S. de R.L. de C.V. y Exterran
Energy Solutions, L.P. v. Iberoamericana de Hidrocarburos, S.A. de
C.V., ICC Case No. 25918/JPA, In the Court of Arbitration of the
International Chamber of Commerce (attached as Exhibit F to
Defendants' Notice of Removal, Docket Entry No. 1-6).
      Exterran's Motion to Compel, Docket Entry No. 4, p. 10;
      22

Exterran Energy de Mexico, S. de R.L. de C.V. y Exterran Energy
Solutions, L.P. v. Iberoamericana de Hidrocarburos, S.A. de C.V.,
ICC Case No. 25918/JPA, In the Court of Arbitration of the
International Chamber of Commerce (attached as Exhibit F to
Defendants' Notice of Removal, Docket Entry No. 1-6).
                                          6-
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     On December 29, 2020, Plaintiff sued Defendants                            the 129th

District Court of Harris County,                     Texas. 23   Plaintiff's petition

asserted that Plaintiff had a contractual relationship with PEMEX

under which PEMEX granted Plaintiff possession of land in the Nejo

Fields and Plaintiff agreed to develop and maintain infrastructure

therein. 24 Plaintiff alleged that Defendants tortiously interfered

with this contractual relationship by obtaining the MP's Order.25

     On February 8, 2021, Exterran filed simultaneous motions to

compel arbitration and dismiss IHSA's claims. 26                    On March 3, 2021,

"[h]aving been advised that [Plaintiff] no longer wishes to pursue

its claims against Exterran Energy Solutions, L.P. and Andrew Way,"

the Honorable Lynn N. Hughes dismissed the case without prejudice. 27

     On May 10,             2021, Plaintiff filed this action in the 164th

Judicial     District             Court   of   Harris     County,   Texas, 28    bringing

     23
       Iberoamericana de Hidrocarburos S.A. v. Exterran Energy
Solutions, L.P. et al,      4:21-CV-00329,   Plaintiff's Original
Petition, Exhibit A-1 to Defendants' Notice of Removal from the
129th Harris County District Court, Docket Entry No. 1-5 (note that
this entry is found in a separate CM/ECF docket).
     24   Id. at 4    c_l[c_![   8-10.
     25
          Id. at 10       c_l[   43.
     26
       Iberoamericana de Hidrocarburos S.A. v. Exterran Energy
Solutions, L.P., et al., 4:21-CV-00329, Exterran Energy Solutions,
L.P.'s Motion to Compel Arbitration, Docket Entry No. 7; Defendant
Exterran Energy Solutions, L.P.'s Motion to Dismiss, Docket Entry
No. 8.
     27 Iberoamericana de Hidrocarburos S.A. v. Exterran Energy
Solutions, L.P., et al., 4: 21-CV-00329, Final Dismissal, Docket
Entry No. 14.

      Plaintiff's Original Complaint, Exhibit A to Defendants'
     28

Notice of Removal, Docket Entry No. 1-1.
                                               -7-
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essentially       the           same     tortious     interference        claim    that   it

voluntarily dismissed in March of 2021.                         Plaintiff alleges that

Defendants directed Exterran Mexico to file the criminal complaints

and that the complaints led to the issuance of sequester orders

that prevented Plaintiff from performing its contractual duties to

PEMEX. 29

      Plaintiff         asserted          a    counterclaim     in    the     ongoing     ICC

arbitration,      alleging             among    other     things     that    the   criminal

complaints and the resultant site seizures by Mexican authorities

prevented      Plaintiff from accessing the Nejo                      1     Plant and thus

prevented      Plaintiff             from maintaining and developing equipment

there. 30     In other words,             Plaintiff asserts essentially the same

allegation in its arbitration counterclaim as it brings in its live

complaint.

      On June 7, 2021, Defendants removed Plaintiff's state court

suit to this court pursuant to 9 U.S.C. § 205. 31                         On June 14, 2021,

Exterran      filed            the   pending     Motion    to    Compel      Arbitration. 32

Plaintiff filed a Motion to Remand on July 1, 2021, 33 and filed a



      29
           Id. at 5   <Jr<][    12-13.

      °Certified English Translation of Plaintiff's Counterclaim in
      3

ICC Arbitration, Exhibit C to Exterran's Motion to Compel, Docket
Entry No. 4-3, pp. 6-7 <JI<Jr 48-52.
      31
           Defendants' Notice of Removal, Docket Entry No. 1, p. 1.
      32
           Exterran's Motion to Compel, Docket Entry No. 4.
      33
           Plaintiff's Motion to Remand, Docket Entry No. 12.
                                                -8-
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response             to        Exterran's    Motion    to    Compel      on    July       6,     2021. 34

Defendants filed a reply on July 13, 2021, 35 and Plaintiff filed a

sur-reply on July 23, 2021. 36


                                          II.   Lega1 Standard

           In enacting the Federal Arbitration Act                            ("FAA"),         9 U.S.C.

§§    1,        et       seq.,    Congress      "expressed    a    strong policy               favoring

arbitration before litigation, and the courts are bound to take

notice           of       this    broad     policy    as    well    as     speci      c    statutory

provisions in dealing with arbitration clauses in contracts."

J.S. & H. Construction Co. v. Richmond County Hospital Authority,

473 F.2d 212, 214-215 (5th Cir. 1973).                           The FAA provides that "[a]

written provision in any                              contract evidencing a transaction

involving                commerce     to    settle     by    arbitration         a    controversy

thereafter arising out of such contract or transaction . . . shall

be valid, irrevocable, and enforceable, save upon such grounds as

exist at law or in equity for the revocation of any contract."

9    u.s.c.          §    2.     Section 4 of the FAA permits a party to seek an

order compelling arbitration if the other party has failed to

arbitrate under a written agreement.                         9    u.s.c.   §   4.



           34
                Plainti         's Response, Docket Entry No. 13.
      Exterran Energy Solutions, LP and Exterran Corporation's
       35

Reply in Support of Their Motion to Compel Arbitration ("Exterran's
Reply"), Docket Entry No. 14.
      Plaintiff's Sur-Reply Brief in Opposition to the Motion to
       36

Compel Arbitration ("Plaintiff's Sur-Reply"), Docket Entry No. 18.
                                                     -9-
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       Courts apply a two-step inquiry when ruling on a motion to

compel arbitration.    Edwards v. Doordash, Inc., 888 F.3d 738, 743

(5th    r. 2018) (citing Klein v. Nabors Drilling USA L.P., 710 F.3d

234, 236 (5th Cir. 2013)).    \\
                                   rst, the court asks whether there

a valid agreement to arbitrate and, second, whether the current

dispute falls within the scope of a valid agreement."           Id.

       "Determining whether there is a valid arbitration agreement is

a question of state contract law and is for the court."         Huckaba v.

Ref-Chem, L.P., 892 F.3d 686, 687 (5th Cir. 2018) (citing Kubala v.

Supreme Production Services,       Inc., 830 F.3d 199,    202     (5th Cir.

2016)).    District courts within the Fifth Circuit apply a summary

judgment-like standard when considering this question.          Johnson v.

CMI Group, Civil Action No. 3:19-CV-2361-N, 2020 WL 8461518, at *4

(N.D. Tex. Dec. 29, 2020), report and recommendation adopted, Civil

Action No. 3:19-CV-2361-N, 2021 WL 424279 (N.D. Tex. Feb. 8, 2021).

"[T] he moving party must first       'present evidence sufficient to

demonstrate an enforceable agreement to arbitrate.'" Id. (quoting

Clutts v. Dillard's,    Inc., 484 F. Supp. 2d 1222,        1224    (D. Kan.

2007)).    "Once this burden has been met by the movant, the burden

shifts to the non-movant to raise a genuine dispute of material

fact regarding the existence of an agreement to arbitrate."             Id.

(citing Hancock v. American Telephone and Telegraph Co., Inc., 701

F.3d 1248, 1261 (10th Cir. 2012)).

       "[I] n step two of the analysis, determining the scope of a

valid arbitration agreement               we apply the federal policy and

                                   -10-
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resolve ambiguities in favor of arbitration."           Klein, 710 F.3d at

236-37 (internal citation omitted).         n[W]hen a court interprets []

provisions in an agreement covered by the FAA,          'due regard must be

given to the federal policy favoring arbitration, and ambiguities

as to the scope of the arbitration clause               f resolved in favor

of arbitration.'" Mastrobuono v. Shearson Lehman Hutton, Inc., 115

S. Ct. 1212, 1218 (1995) (quoting Volt Information Sciences, Inc.

v. Board of Trustees of the Leland Stanford Junior University, 109

S. Ct. 1248, 1254 (1989)).


                               III.   Analysis

A.     The Arbitration Agreements Are Valid

       Whether there is a valid arbitration agreement is governed by

ordinary state-law contract principles.          Klein, 710 F.3d at 236.

"Under Texas law, a binding contract requires:                '(1) an offer;

(2) an acceptance in strict compliance with the terms of the offer;

(3) a meeting of the minds; (4) each party's consent to the terms;

and (5) execution and del        ry of the contract with intent that it

be mutual and binding.'"        Huckaba, 892 F.3d at 689 (quoting In re

Capco Energy, Inc., 669 F.3d 274, 279-80 (5th            r. 2012)).     "As

relates specifically to arbitration agreements,               the    '[m]utual

agreement to arbitrate claims provides sufficient consideration to

support an      arbitration    agreement.'"   Lizalde    v.   Vista Quality

Markets, 746 F.3d 222, 225. (5th Cir. 2014) (quot                   In re 24R,

Inc., 324 S.W.3d 564, 566 (Tex. 2010)).


                                      11-
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        The Compression Contract states that

     [t]he Parties shall endeavor to resolve any dispute or
     claim arising from the performance, interpretation, or
     breach of this Agreement among themselves. To this end,
     either party will notify the other party by means of a
     substantiated notice about the disputed matter, claim,
     interpretation or alleged breach. Once the noti cation
     is received, the Parties will have     een (15) business
     days to resolve the matter raised.      Any dispute not
     amicably resolved within the aforementioned period, or
     any of its extensions agreed to in writing by mutual
     agreement between the Part         will be definitively
     resolved in accordance with the Rules of Arbitration of
     the International Chamber of Commerce           37


        The Conditioning Contract contains a substantially identical

arbitration clause. 38           The 2020 Sales Agreement provides that "[i]n

the event of a dispute, this Agreement shall be submitted to the

conciliation,        arbitration,       jurisdiction and applicable law set

forth        in   section   35    of   the   [Conditioning   Contract] ." 39   The

arbitration clauses provide that any dispute arising out of the

Contracts shall be               trated      the City of Monterrey, Nuevo Leon,



      Certified English Translation of Compression Contract
        37

Excerpts, Exhibit D to Exterran's Motion to Compel, Docket Entry
No. 4-4, p. 5.

      Certified English Translation of Conditioning Contract
        38

Excerpts, Exhibit E to Exterran's Motion to Compel, Docket Entry
No. 4-5, p. 5.

      2020 Sales Agreement, Exhibit E to Defendants' Notice of
        39

Removal, Docket Entry No. 1-5, p. 8 <.II 14; see also Certified
English Translation of Conditioning Contract Excerpts, Exhibit E to
Exterran's Motion to Compel, Docket Entry No.          4-5, p. 2
(establishing that the Conditioning Contract is synonymous with the
Master Agreement referenced in the unaltered text of the 2020 Sales
Agreement) .

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Mexico, under the ICC Arbitration Rules in accordance with the laws

of the United Mexican States. 40

        The    terms    of    the   arbitration      clauses   are   detailed   and

unequivocal.          Plaintiff does not dispute that it agreed to these

terms.        The Compression and Conditioning Contracts appear to bear

signatures       of    both    Plaintiff's     and    Exterran   Mexico's   legal

representatives, 41 as does the 2020 Sales Agreement. 42                The court

concludes that Plaintiff objectively manifested its intent to be

bound by the terms of the arbitration clauses                  the Contracts, and

that the arbitration clauses are valid.


B.      The Dispute Is Within the Scope of the Arbitration Clauses

        The Fifth Circuit distinguishes between broad and narrow

arbitration clauses.          Complaint of Hornbeck Offshore {1984) Corp.,

981 F.2d 752, 754 (5th Cir. 1993).                If the clause is broad, the

action should be referred to arbitration.               Id. Arbitration clauses

containing "any dispute" language are of the broad type.                    Id. at



      °Certified English Translation of Compression Contract
        4

Excerpts, Exhibit D to Exterran's Motion to Compel, Docket Entry
No. 4-4, p. 5; Certified English Translation of Conditioning
Contract Excerpts, Exhibit E to Exterran's Motion to Compel, Docket
Entry No. 4-5, p. 5; 2020 Sales Agreement, Exhibit E to Defendants'
Notice of Removal, Docket Entry No. 1-5, p. 8 � 14.

     41 Compression Contract, Exhibit B to Defendants' Notice of
Removal, Docket Entry No. 1-2, p. 34; Conditioning Contract,
Exhibit C to Defendants' Notice of Removal, Docket Entry No. 1-3,
p. 58.
      2020 Sales Agreement, Exhibit E to Defendants'
        42
                                                                        Notice of
Removal, Docket Entry No. 1-5, p. 9.
                                        -13-
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755.

       The arbitration clauses in the Compression and Conditioning

Contracts state that "any dispute" must be arbitrated.43                  The 2020

Sales Agreement incorporates this same broad language by referring

to the arbitration clause in the Conditioning Contract. 44 The court

thus concludes         that   the   scope    of     the   clauses   is   broad   and

arbitration is proper.          See Hornbeck, 981 F.2d at 754.

       Plaintiff argues that its claims are not arbitrable because

its petition alleges tort claims, while the ongoing ICC Arbitration

involves contractual disputes. 45              But broad arbitration clauses

"embrace all disputes between the parties having a significant

relationship to the contract regardless of the label attached to

the dispute."          Pennzoil Exploration and Production Co. v. Ramco

Energy Ltd., 139 F.3d 1061, 1067 (5th Cir. 1998)                    "[I]t is only

necessary       that    the   dispute    'touch'      matters   covered    by    the

[contract] to be arbitrable."           Id. at 1068. Moreover, "arbitration

should not be denied 'unless it can be said with positive assurance

that        [the]   arbitration     clause     is     not   susceptible     of    an


      Certified English Translation of Compression Contract
       43

Excerpts, Exhibit D to Exterran's Motion to Compel, Docket Entry
No. 4-4, p. 5; Certified English Translation of Conditioning
Contract Excerpts, Exhibit E to Exterran's Motion to Compel, Docket
Entry No. 4-5.
      2020 Sales Agreement, Exhibit E to Defendants' Notice of
       44

Removal, Docket Entry No. 1-5, p. 8 ':II 14.
       45
            Plaintiff's Response, Docket Entry No. 13, p. 1.
                                        -14-
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interpretation which would cover the dispute at issue.' 11           Safer v.

Nelson Financial Group,            Inc., 422 F.3d 289, 294    (5th Cir. 2005)

(quoting Personal Security and Safety Systems, Inc. v. Motorola,

Inc., 297 F.3d 388, 392 (5th Cir. 2002)).

       Plaintiff's tortious interference claim arises from the MP's

Orders, which were issued as a result of Exterran Mexico's criminal

complaints against Plaintiff.46             The criminal complaints, in turn,

relied on the Contracts to establish that Exterran Mexico's rights

had been violated. 47          But for the Contracts, Plaintiff's tortious

interference claim would not exist.                The court concludes that

Plaintiff's claim "touch [es]" matters covered by the Contracts, see

Pennzoil, 139 F.3d at 1068, and that the arbitration clauses are

"'susceptible of an interpretation which would cover the dispute at

issue.'      11
                   See        422 F.3d at 294.    Accordingly, the court will

grant Exterran's Motion to Compel.


C.     Intertwined Claims Estoppel

                  intiff appears to imply      it would be improper to compel



      Plaintiff's Original Complaint, Exhibit A to Defendants'
        46

Notice of Removal, Docket Entry No. 1-1, pp. 5-6 ii 12-15.
       47
      Certi      Engl    Translation of     t Complaint of Facts,
Exhibit F to Exterran's Motion to Compel, Docket Entry No. 4-6,
pp. 9-10 ii 1-3; Certified English Translation of Second Complaint
of Facts, Exhibit G to Exterran's Motion to Compel, Docket Entry
No. 4-7, p. 4 i 2 {stating that the Contracts established
Exterran's ownership of the equipment and infrastructure that
Plaintiff was allegedly preventing Exterran from accessing).
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arbitration of         claims against Exterran because             Contracts

are between Plaintiff and Exterran Mexico. 48           Although Exterran

Mexico filed     the   criminal   complaints    that   are   the   basis   of

Plaintiff's tortious interference claim, Plaintiff has only sued

Exterran Mexico's parent companies - Exterran Corp. and Exterran

L.P. (and the President of both companies, Andrew Way)              in this

action.   Exterran L.P. is a signatory to the 2020 Sales Agreement49

and a party to the onging arbitration in Mexico. 50

     "Texas courts have recognized that 'a non-signatory can be

bound to, or permitted to enforce, an arbitration agreement' based

on equitable estoppel grounds."          Hays v. HCA Holdings, Inc., 838

F.3d 605, 609, n.1 (5th Cir. 2016) (quoting G.T. Leach Builders,

LLC v� Sapphire V.P., LP, 458 S.W.3d 502, 524 (Tex. 2015)).            Under

the theory of intertwined claims estoppel, "a non-signatory to an

arbitration agreement may compel a signatory to that agreement to

arbitrate a dispute where                'the issues the nonsignatory is

seeking   to   resolve   in   arbitrat       are   intertwined     with    the


      Plaintiff's Response, Docket Entry No. 13, p. 9 (" [T]he
     48

contracts with Exterran Mexico and the controversies related to
those contracts have nothing to do with the claims in the instant
case.").

      2020 Sales Agreement, Exhibit E to Defendants' Notice of
     49

Removal, Docket Entry No. 1-5, p. 9.
      Exterran Energy de Mexico, S. de R.L. de C.V. y Exterran
     50

Energy Solutions, L.P. v. Iberoamericana de Hidrocarburos, S.A. de
C.V., ICC Case No. 25918/JPA, In the Court of Arbitration of the
International Chamber of Commerce (attached as Exhibit F to
Defendants' Notice of Removal, Docket Entry No. 1-6).

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agreement that the estopped party has signed.'"            JLM Industries,

Inc. v. Stolt-Nielsen SA, 387 F.3d 163, 177 (2d Cir. 2004).              Texas

courts have applied       this doctrine in       "instances of strategic

pleading by a signatory who, in lieu of suing the other party for

breach, instead sues that party's nonsignatory principals or agents

for pulling the strings."        In re Merrill Lynch Trust Co. FSB, 235

S.W.3d 185, 194 (Tex. 2007).

      Plaintiff's suit against Exterran Corp. - Exterran Mexico's

"nonsignatory principal[]" - rests on the allegation that Exterran

"pull[ed]     the   strings"   by   directing   Exterran   Mexico   to    file

criminal complaints against Plaintiff.51         See In re Merrill Lynch,

235 S.W.3d at 194.        For reasons explained above, the court has

concluded that Plaintiff's tortious interference claim depends on

and        ses from the Contracts.    The court therefore concludes that

Plaintiff's claim         "intertwined with" the Contracts and that

Defendants may properly compel arbitration regardless of their

status as signatories.


                        IV.    Conclusion and Order

      For the reasons explained above, Exterran Energy Solutions,

LP's [and Exterran Corporation's] Motion to Compel Arbitration

(Docket Entry No. 4) is GRANTED.            This action is   STAYED.       The



      Plaintiff's Original Complaint, Exhibit A to Defendants'
      51

Notice of Removal, Docket Entry No. 1 1, p. 5 11 12-13.
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parties will submit a status report on October 15, 2021, and every

60 days thereafter.     The October 1, 2021, initial pretrial and

scheduling conference is CANCELED.

     SIGNED at Houston, Texas, on this 19th day of August, 2021.




                                            7
                                                 SIM LAKE
                                    SENIOR UNITED STATES DISTRICT JUDGE




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